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Form 154
                                         UNITED STATES BANKRUPTCY COURT
                                                         Middle District of North Carolina
                                                            101 S. Edgeworth Street
                                                             Greensboro, NC 27401
Information to identify the case:
                                                                                          Social Security number or ITIN: _ _ _ _
Debtor 1:
                                                                                          EIN: _ _−_ _ _ _ _ _ _


                                                                                          Date case filed for chapter:        0     6/17/22

Case number:        22−02017

NOTICE OF HEARING
TO THE DEBTOR, CREDITOR AND ALL OTHER PARTIES IN INTEREST:

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have
one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

TAKE NOTICE THAT a hearing will be held to consider and act upon the following:

Motion to Dismiss Adversary Proceeding filed by Defendant Oaktree Finance LLC;

Motion to Extend Time to Respond to Motion to Dismiss Adversary filed by Plaintiff Mya Deionshai Corbett



Hearing Details:
Hearing Date:                9/7/22
Hearing Time:                02:00 PM
Hearing Location:            Courtroom 1, Second Floor, 101 South Edgeworth Street, Greensboro, NC 27401




Dated: 8/26/22                                                                   OFFICE OF THE CLERK/TR




To Enter a Federal Court Facility you must present a valid State or Federal photo ID. (i.e. Drivers License, etc.)

For security purposes the following is a list of items that will not be allowed into a Federal Court Facility:

Firearms, stun guns, mace or pepper spray, knives, box cutters, razors, or any cutting devices of any kind; cameras: to include any device having the
photographic capability i.e., cell phones with camera features, personal organizers with camera features; and any device having recording or transmitting
capabilities: to include tape recorders, digital recorders, wireless microphones, push to talk cell phones, hand held or two way radios or similar radio
communication devices.
